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               United States Court of Appeals
                              For the First Circuit
 No. 13-1026

        JIN-MING LIN, on behalf of himself and on behalf of others similarly situated;
        CHI-WAI CHAO, on behalf of himself and on behalf of others similarly situated
       YOOK THAI CHEAH; MING F. FUNG; MUOI GIANG; YUEM YUE SOOHOO

                                    Plaintiffs - Appellees

                                          MEI ZHI

                                          Plaintiff

                                              v.

                     CHINATOWN RESTAURANT CORPORATION;
                              JOYCE P.Y. HAYES

                                  Defendants - Appellants

                               WILLIAM M. WAINWRIGHT

                                         Defendant


                                        MANDATE

                                  Entered: March 18, 2013

        In accordance with the judgment of March 18, 2013, and pursuant to Federal Rule of
 Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                            By the Court:

                                            /s/ Margaret Carter, Clerk

 cc:
 David Berman
 Myong J. Joun
 Lawrence Mathew Siskind
